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                                                                 MAY 14, 2007
                                                                MICHAEL W. DOBBINS
                                                             CLERK, U.S. DISTRICT COURT



                                                              JUDGE HIBBLER
                                                         MAGISTRATE JUDGE VALDEZ




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